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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 ALISHA BOYKIN, KRISTIN HANSEN,
 TRACY MANGANO, AMY DITTBENNER
 and JERRY TERCERO,
                                                         Case No.: 1:18-cv-02461
 Plaintiffs,
                                                         Honorable Judge John J. Tharp, Jr.
 v.

 PANERA BREAD COMPANY,

 Defendant.

                   AMENDED NOTICE OF VOLUNTARY DISMISSAL

        NOW COME the Plaintiffs, ALISHA BOYKIN, KRISTIN HANSEN, TRACY

MANGANO, AMY DITTBENNER and JERRY TERCERO (“Plaintiffs”), by and through their

attorney, James C. Vlahakis of SULAIMAN LAW GROUP, LTD., and pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i), hereby voluntarily dismiss their individual capacity claims against

the Defendant, PANERA BREAD COMPANY, with prejudice. This Amended Notice of Voluntary

Dismissal does not operate to dismiss the claims of any putative class members.


Dated: June 12, 2018                                       Respectfully Submitted,

                                                           /s/ James C. Vlahakis________
                                                           James C. Vlahakis, Esq.
                                                           Sulaiman Law Group, Ltd.
                                                           2500 S. Highland Avenue, Suite 200
                                                           Lombard, IL 60148
                                                           Phone (630) 581-5456
                                                           jvlahakis@sulaimanlaw.com
                                                           Counsel for Plaintiff
